
Maria S. Masigla, P.T., as Assignee of Barthelemy, Darnell, Appellant, 
againstCitiwide Auto Leasing, Respondent.




The Rybak Firm, PLLC (Damin J. Toell, Karin A. Barska of counsel), for appellant.
Miller, Leiby &amp; Associates, P.C. (Melissa M. Wolin, Evan Mizrahi of counsel), for respondent.

Appeal from an order of the Civil Court of the City of New York, Queens County (Larry Love, J.), entered August 4, 2014. The order denied plaintiff's motion for summary judgment and granted defendant's cross motion for summary judgment dismissing the complaint.




ORDERED that the order is affirmed, with $25 costs.
In this action by a provider to recover assigned first-party no-fault benefits, plaintiff moved for summary judgment. Defendant cross-moved for summary judgment dismissing the complaint on the ground that defendant had timely and properly denied the claims based upon late notice of the accident (see 11 NYCRR 65-2.4 [a], [b]) and, with respect to the first cause of action, on the additional ground that plaintiff had submitted the claims more than 45 days after the services had been rendered (see 11 NYCRR 65-1.1; 65-2.4 [c]). Plaintiff appeals from an order of the Civil Court which denied plaintiff's motion and granted defendant's cross motion.
For the reasons stated in Charles Deng Acupuncture, P.C., as Assignee of Barthelemy, Darnell v Citiwide Auto Leasing (___ Misc 3d ___, 2018 NY Slip Op _____ [appeal No. 2014-2047 Q C], decided herewith), the order is affirmed. 
PESCE, P.J., ALIOTTA and SIEGAL, JJ., concur.
ENTER:Paul KennyChief ClerkDecision Date: March 23, 2018










